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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION


              RAISSA DJUISSI KENGNE,
                       Plaintiff,                           CIVIL ACTION FILE
                  v.                                        NO. 1:22-cv-02297-SEG
              GEORGIA POWER COMPANY,
                       Defendant.


                               FINAL REPORT AND RECOMMENDATION

                                                 AND ORDER

                   Plaintiff, proceeding without counsel, seeks leave to file this civil action in

             forma pauperis (“IFP”), without prepayment of fees and costs or security therefor,

             pursuant to 28 U.S.C. § 1915(a)(1). [Doc. 1, Application]. This is the third lawsuit

             that Plaintiff has filed this week seeking permission to proceed IFP.1

             I.    Plaintiff’s IFP Application

                   The affidavit of poverty submitted by Plaintiff indicates that over the past twelve

             months, Plaintiff has earned an average monthly income of $7,500 from her


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                       See Case No. 1:22-cv-02237-SEG, Raissa Djuissi Kengne v. ID.me, Inc., et
             al., and Case No. 1:22-cv-02263-SEG-CMS, Raissa Djuissi Kengne v. AG South Farm
             Credit, et al.



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             employment and retirement, which amounts to $90,000 on an annual basis. [Doc. 1

             at 1–2]. Before she left her most recent employment, she was earning $9,583.00 per

             month. She does not list any children or a spouse that rely on her for support. [Id. at

             3]. She reports that she owns a condominium valued at approximately $500,000,

             a land lot worth $55,000, and an abandoned house worth approximately $200,000.

             [Id.]. Plaintiff has estimated her total monthly expenses at approximately $13,125.00.

             [Id. at 5].

                    Plaintiff’s allegations of poverty are not fully supported by the record. With an

             annual income of approximately $90,000, Plaintiff is well above the poverty level.2

             Although Plaintiff lists average monthly expenses of $13,125.00, some of the

             discretionary amounts for one person seem unnecessarily high, such as $1000 for food,

             $200 for laundry and dry cleaning, and $6000 in monthly credit card installment

             payments to Bank of America, Citi Bank, and American Express. [Doc. 1 at 4].

                    Although Plaintiff may have limited funds, and may have other priorities for

             those funds, I believe that she is able to pay the required $402 filing fee and should do

             so if she wishes to pursue this case. For the reasons stated, I find that Plaintiff has




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                        See https://aspe.hhs.gov/poverty-guidelines (last visited June 8, 2022).
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             sufficient means to pay the filing fee and incur the costs of these proceedings. Thus,

             Plaintiff’s request to proceed IFP is DENIED.

                   If Plaintiff wishes to proceed with this action, she is ORDERED to pay the

             appropriate filing fee to the Clerk within 21 days of the date of this Order.

             II.   Plaintiff’s Complaint

                   Before she does so, however, the undersigned notes, after reviewing Plaintiff’s

             proposed complaint and request for injunctive relief and declaratory judgment, that as

             currently drafted, Plaintiff’s complaint fails to show that this Court has subject matter

             jurisdiction over her claims against the defendant, Georgia Power Company.

             Plaintiff’s complaint cites only Georgia state statutes and regulations, and her

             allegations chiefly pertain to a billing dispute that she, as a residential customer of

             Georgia Power, has with the defendant. She alleges that Georgia Power wrongfully

             disconnected her residential electrical service and closed her account for nonpayment.

             She asks this Court to order Georgia Power to permit Plaintiff to pay the past due

             amounts on her account using the same account number she has had for more than ten

             years, and to restore power to Plaintiff’s home immediately, due to Georgia Power’s

             alleged violations of local rules and regulations. She alleges that she never received

             a disconnection notice, but she also alleges that her condominium management

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             withheld her mail access during the relevant period and that the mail issue is part of a

             lawsuit that she has filed in the Superior Court of Fulton County. [Doc. 1-1, Compl.,

             at 1–4]. The amounts Plaintiff alleges she is in arrears with Georgia Power total less

             than $1000.

                   It is well-settled that a federal court is obligated to inquire into subject matter

             jurisdiction sua sponte whenever it may be lacking. University of S. Ala. v. Am.

             Tobacco Co., 168 F.3d 405, 410 (11th Cir. 1999). It is the plaintiff’s burden to

             demonstrate that the action is based on diversity jurisdiction, or that the action contains

             one or more claims arising under the Constitution, treaties or laws of the United States.

             28 U.S.C. §§ 1441(a) & (b), 1331(a), 1332. In this case, the civil cover sheet that

             Plaintiff completed to initiate this lawsuit indicates that she is asserting federal

             question jurisdiction. [Doc. 1-3 at 1]. However, there are no allegations in Plaintiff’s

             proposed complaint to support federal question jurisdiction. All statutes, rules and

             regulations cited by Plaintiff to support her claims against the utility company are

             based on state and/or local law. [Id.]. She has not cited any federal law or statute that

             would provide federal question subject matter jurisdiction over her claims.

                   It is also apparent that no diversity jurisdiction exists. Pursuant to 28 U.S.C.

             § 1332, federal district courts have original jurisdiction for all civil actions where the

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             amount in controversy exceeds $75,000 and is between citizens of different states.

             See id. The pleadings and the civil cover sheet that Plaintiff completed indicate that

             both she and the Georgia Power Company are citizens of the State of Georgia.

             [Doc. 1-3 at 1]. Plaintiff’s allegations also show that the amount in controversy is less

             than $1000. Thus, Plaintiff’s complaint fails to show that the amount in controversy

             exceeds $75,000 and the action is between citizens of different states.

             III.   Conclusion

                    For the reasons stated, I RECOMMEND that Plaintiff’s complaint be

             DISMISSED without prejudice for lack of subject matter jurisdiction, and the case

             closed. Plaintiff’s application to proceed IFP is DENIED.

                    IT IS SO RECOMMENDED AND ORDERED, this 10th day of June, 2022.




                                                     CATHERINE M. SALINAS
                                                     UNITED STATES MAGISTRATE JUDGE




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